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                                 UNITED STATES BANKRUPTCY COURT
                                    MIDDLE DISTRICT OF FLORIDA
                                       JACKSONVILLE DIVISION

IN RE:                                                                             CASE NO. 17-02469-3G7

NATASHIA T. SWINDLER


                                 Debtor(s)./

                             APPLICATION FOR ATTORNEY’S FEE
                      FOR GORDON P. JONES AS ATTORNEY FOR THE ESTATE

         Gordon P. Jones respectfully represents that he has been appointed as the attorney for this
estate, and that he performed the services as set forth in the attached statement on behalf of the estate.

         Applicant has received no compensation for services rendered and deems it reasonably worth
$825. He has spent approximately 3 hours on professional services for the estate. However, in light of
the ultimate recovery, applicant has agreed to reduce his fee to $757.68.

        In addition to the time and labor required, the Applicant states that the following factors are
relevant in determining the appropriateness of his fee according to the factors delineated in Johnson v.
                                               th
Georgia Highway Express, Inc. 488 F.2d 714 (5 Cir. 1974);

         1. The novelty and difficulty of questions. Not a factor in this case.

        2. The skill requisite to perform the service properly. Representing the interests of the estate
requires a comprehensive knowledge of both federal and state law practice. The attorney for the estate
must be familiar with diverse topics including but not limited to creation and perfection of security interests
under both state and federal law; exemptions available under both federal and state law; fraudulent
transfers; preferential transfers; dissolution of marriage and property settlement agreements; federal
income tax law; real and personal property rights; testate and intestate succession; and recovery of
personal injury claims.

        3. The preclusion of other employment by the attorney due to acceptance of the case. The
Applicant limits his practice to representing bankruptcy estates. Representing bankruptcy estates
precludes the Applicant from representing other parties typically involved in the bankruptcy process such
as creditors or debtors on a regular basis due to potential conflicts of interests. Additionally, the Court will
not allow the Applicant to represent any other trustees or estates in which other trustees have been
appointed. Further, due to the time requirements and scheduling conflicts, the Applicant is effectively
precluded from representing other clients in non-bankruptcy forums.

        4. The customary fee. The Applicant charges the customary fee for his services as other
attorneys that represent bankruptcy trustees in the same or similar geographic area.

         5. Whether the fee is fixed or contingent. The Applicant suggests that in this case his fee is a
contingent fee limited by his hourly rate and time. The Applicant has performed services on behalf of this
estate without compensation since his initial employment. Further, the Applicant will not receive any
compensation unless his efforts produced an estate to be administered. Nonetheless, the Applicant’s fee
is limited to a maximum of his hourly rate multiplied times the number of hours expended by the Office of
the United States Trustee and is subject to further reduction by the Court at the conclusion of the case.

        6. Time limitations imposed by the client or circumstances. The Applicant is limited in some
circumstances by the United States Trustee guidelines that require assets to be liquidated within one
year.
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        7. The amount involved and the results obtained. The Applicant has expended $825 in attorney
time representing the estate; however, Applicant has agreed to reduce his fee to $757.68.

        8. The experience, reputation and ability of the attorney. The Applicant’s specialty is the
practice of bankruptcy and commercial law. However, the Applicant does have prior experience in
insurance defense litigation. The Applicant has lectured on bankruptcy law for the Florida Bar, and has
presented seminars on bankruptcy law. Finally, in addition to the Applicant’s legal credentials, the
Applicant is a licensed Real Estate Broker and has obtained a Masters in Business Administration.

       9. The nature and length of the professional relationship with the client. The Applicant regularly
represents the estate as permitted by the Bankruptcy Code.

        10. Awards in similar cases. The award is consistent with awards in similar cases. The award is
less than awards in similar cases because the Applicant has voluntarily reduced his fee.

         Applicant has not in any form or guise agreed to share the compensation for services with any
person not contributing, or to share in the compensation of any person rendering services in this case or
in connection with this case to which services Applicant has not contributed (other than a law partner or
forwarding attorney at law); and that Applicant has not entered into any agreement, written or oral,
express or implied, with any other party in interest or any attorney of any other party in interest in this
proceeding for the purpose of fixing the amount of fees or other compensation, to be paid to any party in
interest, or any attorney of any party in interest for services rendered.
                       ST
        Dated this 1        day of September , 2017.

                                                       /s/ Gordon P. Jones
                                                       Gordon P. Jones
                                                       Florida Bar No.: 829439
                                                       Post Office Box 600459
                                                       Jacksonville, FL 32260-0459
                                                       (904) 262-7373
                                                       Attorney for Trustee
cc: United State Trustee
Date: 09/01/17                           Trustee: GORDON P. JONES, TRUSTEE (293100)                                                                                   Page: 1
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                                                             Time Sheet Report
                                                            Entries Through 09/01/17

    Case Number: 17-02469                    Case Name: SWINDLER, NATASHIA T.                                                        Petition Date: 07/03/17
     Case Status: Asset                           Judge: (3G7) PAUL M. GLENN                                                Original 341a Meeting: 08/17/17

                 Matter/User     Date                                     Description                                      Hours           Rate               Total

Staff Name: GORDON JONES
ASSET ANALYSIS & RECOVERY      08/23/17   Review debtor's financial documents including accident records and                   2.00      275.0000                     550.00
                                          accounting for proceeds from accident report
FEE/EMPLOYMENT APPLICATIONS    08/23/17   Preparation, electronic filing and service of Application to employ Gordon           0.50      275.0000                     137.50
                                          Jones as Attorney for the Estate
FEE/EMPLOYMENT APPLICATIONS    09/01/17   Preparation, filing and service of application for allowance of attorneys fees       0.50      275.0000                     137.50

                                                                  Totals for GORDON JONES                                      3.00                                   825.00

                                                                         Total for Case Number: 17-02469                       3.00                                   825.00




TIMETS2                                                                                                                               Printed: 09/01/17 12:35 PM   Ver: 20.00d
